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COMMUNICATIONS
_ Event Report
Event ID: 2015-411304 Call Ref #: 30 Date/Time Received: 09/26/15 00:35:58
Rpts: Prime 316 . Services Involved
Call Source: SELF Unit CELESTE, MARK LAW
eae ToT a rar enor
Location: 3810 HEADSAIL DR (S)FLOR A MAR (N)GULF
X-8T: FLORAMAR TER Jur, CAD Service: LAW Agency: PSO
" TOPSAIL TRL StfBeat: 12 District: Da RA: IDA
Business: Phone: GP: 12B
Nature: PROLIFIG OFFENDER CHECK Alarm Lut 4 Priority: 7 Medical Priority:
Reclassified Nature: .
Caller: . Alarm:
Addr. Phone: Alarm Type:
Vehicle # Si FL Report Only: No Race: Sex: Age:

 

Call Taker: Unit3I6

Console: QRYSRV

 

Geo-Verified Addr: Yes Nature Summary Code:

Disposition: OAC Close Comments:

 

Notes: ROBERT JONES WAS CONTACTED BY CAPTAIN JENKINS AND MYSELF. HE WAS TOLD HE WAS BEING MONITORED
DUE TO HIS LONG STANDING COMMITMENT TO CRIMINAL ACTIVITY, HE WAS ENCOURAGED TO ABANDON HIS
CRIMINAL WAYS, WE SHARED WITH ROBERT RECENT INTEL THAT SUGGESTED HE WAS ATTEMPTING TO "PUT
TOGETHER A CREW." HE WAS ADVISED ANY FUTURE CRIMINAL ACTIVITY WOULD LEAD TO HIM BEING DIRECT
FILED AS AN ADULT. [09/26/15 01:05:09 Unit:316]

 

Times

 

 

Call Received: 09/26/15 00:35:58 Time From Call Received
Call Routed: 08/26/45 00:35:59 000:00:01 Unit Reaction: (1st Dispatch to 1st Arrive)
Cail Take Finished: 99/26/15 00:35:59 000:00:04 En-Route: (1st Dispatch to tst En-Route)

4st Dispatch: 99/26/15 00:35:59

ist En-Route:
4st Arrive: 09/26/15 00:36:59

000:00:01 (Tine Hel)  On-Scene: 000:31:38 (1st Arrive to Last Clear)

900:00:01 (Reaction Time)

 

 

 

 

 

 

 

 

 

 

 

 

     

Last Clear, 00/26/15 04:07:37 000:31:39
Radio Log
Close
Unit Empl iD Type Description Time Stamp Comments (ray truncate in portrait) Code User
318 4157 D Dispatched 09/26/15 00:35:59 Stat/Beat I6 Unit: 316
316 4157 - A Arrived 09/26/15 00:35:59 Stat/Beat 16 Unit:316
3i6 4187 Cc Cleared 09/26/15 01:07:37 OKC Unit3ie
Event Log
a Close
Unit Empl ID Type Description _ Time Stamp Cornments {may truncate in portrait) Code User
TR Time Recelved 09/26/15 00:35:58 By: SELF — EXHan cs Unit:316
FIN Finished Call Taking 09/26/15 00:35:59 Unit3i6

Report Generated: 08/19/2021 10:47:26 | User ID: NB9326

WSAPILO7 PASCOOT 1 LANwssload\cadirpt
\EventHistory_Event_Portrait

 

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| EVern 1Sio201 8119040055 BARE EPIO DoPROBIFIG OFFENDER CHECK at 364OHEADSAIL > 2077

 

CHG Changed Street 09/26/15 00:38:59 4844 FLORAMAR TER --> 3810 HEADS Unit:316

CHG Changed Nature 09/26/15 00:38:59 DIRECTED PATROL. PERFORMED —-> Unit:316

ARM Added Remarks 09/26/15 01:05:09 Unit:316
“Event Report Page 2 of 2

Defendant08582

 
